           Case 1:19-cr-00018-ABJ Document 54 Filed 03/04/19 Page 1 of 2



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

                v.                                         Criminal No. 19-cr-18-ABJ

    ROGER J. STONE, JR.,

                                     Defendant.


     GOVERNMENT’S NOTICE REGARDING STATEMENTS BY THE DEFENDANT

         The United States of America respectfully submits this notice in reference to this Court’s

minute order dated March 1, 2019 ordering the defendant to file the “specific date of the ‘imminent

general release’ of the book.”

         A preview of the defendant’s book, including the updated Introduction referenced in the

defendant’s Motion to Clarify, is currently publicly available on Amazon.com and Google Books.

A copy of the screenshots of these materials is submitted under seal as Exhibits A and B,

respectively. In addition, we note for the Court that according to public reporting, on March 3,

2019, the defendant’s Instagram account shared an image with the title “who framed Roger Stone.”

A copy of the image is submitted under seal as Exhibit C.1




1
 See “Trump Friend Roger Stone Suggests Robert Mueller ‘Framed’ Him in Instagram Post that Could Violate Gag
Order,” March 3, 2019, available at https://www.cnbc.com/2019/03/03/roger-stone-suggests-robert-mueller-framed-
him-despite-gag-order.html.
         Case 1:19-cr-00018-ABJ Document 54 Filed 03/04/19 Page 2 of 2



                              Respectfully submitted,

ROBERT S. MUELLER III                       JESSIE K. LIU
Special Counsel                             U.S. Attorney for the District of Columbia

By: /s/                                 By: /s/
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Dated: March 4, 2019




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